Case 2:22-cv-00556-CAS-KS Document 15 Filed 06/16/22 Page 1 of 8 Page ID #:66




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 5 Attorney for Defendant
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 6

 7

 8                       UNITED STATES DISTRICT COURT
 9                FOR THE CENTRAL DISTRICT OF CALIFORNIA
10

11 UNITED STATES OF AMERICA,         )            Case No. 2:22-CV-00556-CAS
                                     )            (KSx)
12                     Plaintiff,    )
                                     )
13            v.                     )            CLAIMANT, STANLEY
                                     )            HUDSON’S ANSWER TO
14 CRYPTOCURRENCY,                   )            COMPLAINT FOR
                                     )            FORFEITURE AND JURY
15                    Defendant.     )            DEMAND FOR TRIAL
   _________________________________ )            PURSUANT TO FEDERAL
16                                   )            FULES OF CIVIL
   STANLEY HUDSON,                   )            PROCEDURE RULE 38(b)
17                                   )
                       Claimant.     )
18                                   )
                                     )
19

20        Claimant, Stanley Hudson, hereby answers the Complaint for Forfeiture in the

21 above-entitled matter as follows:

22        1.    Answering paragraph 1 of the Complaint, claimant admits the

23 allegations contained therein.

24        2.    Answering paragraph 2 of the Complaint, claimant admits the

25 allegations contained therein.

26        3.    Answering paragraph 3 of the Complaint, claimant admits the

27 allegations contained therein.

28        4.    Answering paragraph 4 of the Complaint, claimant admits the
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 1 allegations contained therein.

 2        5.    Answering paragraph 5 of the Complaint, claimant admits the
 3 allegations contained therein.

 4        6.    Answering paragraph 6 of the Complaint, claimant admits the
 5 allegations contained therein.

 6        7.    Answering paragraph 7 of the Complaint, claimant admits the
 7 allegations contained therein.

 8        8.    Answering paragraph 8 of the Complaint, claimant has insufficient
 9 information or belief to answer the allegations contained therein, and based thereon,

10 denies each and every allegation contained therein.

11        9.    Answering paragraph 9 of the Complaint, claimant has insufficient
12 information or belief to answer the allegations contained therein, and based thereon,

13 denies each and every allegation contained therein.

14        10.   Answering paragraph 10 of the Complaint, claimant has insufficient
15 information or belief to answer the allegations contained therein, and based thereon,

16 denies each and every allegation contained therein.

17        11.   Answering paragraph 11 of the Complaint, claimant has insufficient
18 information or belief to answer the allegations contained therein, and based thereon,

19 denies each and every allegation contained therein.

20        12.   Answering paragraph 12 of the Complaint, claimant has insufficient
21 information or belief to answer the allegations contained therein, and based thereon,

22 denies each and every allegation contained therein.

23        13.   Answering paragraph 13 of the Complaint, claimant has insufficient
24 information or belief to answer the allegations contained therein, and based thereon,

25 denies each and every allegation contained therein.

26        14.   Answering paragraph 14 of the Complaint, claimant has insufficient
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 1 information or belief to answer the allegations contained therein, and based thereon,

 2 denies each and every allegation contained therein.

 3        15.   Answering paragraph 15 of the Complaint, claimant has insufficient
 4 information or belief to answer the allegations contained therein, and based thereon,

 5 denies each and every allegation contained therein.

 6        16.   Answering paragraph 16 of the Complaint, claimant has insufficient
 7 information or belief to answer the allegations contained therein, and based thereon,

 8 denies each and every allegation contained therein.

 9        17.   Answering paragraph 17 of the Complaint, claimant has insufficient
10 information or belief to answer the allegations contained therein, and based thereon,

11 denies each and every allegation contained therein.

12        18.   Answering paragraph 18 of the Complaint, claimant has insufficient
13 information or belief to answer the allegations contained therein, and based thereon,

14 denies each and every allegation contained therein.

15        19.   Answering paragraph 19 of the Complaint, claimant denies the
16 allegations contained herein.

17        20.   Answering paragraph 20 of the Complaint, claimant admits the
18 allegations contained therein.

19        21.   Answering paragraph 21 of the Complaint, claimant denies the
20 allegations contained herein.

21        22.   Answering paragraph 22 of the Complaint, claimant admits the
22 allegations contained therein.

23        23.   Answering paragraph 23 of the Complaint, claimant denies the
24 allegations contained therein.

25        24.   Answering paragraph 24 of the Complaint, claimant denies the
26 allegations contained herein.

27        25.   Answering paragraph 25 of the Complaint, claimant denies the
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 1 allegations contained herein.

 2        26.   Answering paragraph 26 of the Complaint, claimant denies the
 3 allegations contained herein.

 4        27.   Answering paragraph 27 of the Complaint, claimant has insufficient
 5 information or belief to answer the allegations contained therein, and based thereon,

 6 denies each and every allegation contained therein.

 7        28.   Answering paragraph 28 of the Complaint, claimant denies the
 8 allegations contained herein.

 9        29.   Answering paragraph 29 of the Complaint, claimant denies the
10 allegations contained herein.

11        30.   Answering paragraph 30 of the Complaint, claimant denies the
12 allegations contained herein.

13        31.   Answering paragraph 31 of the Complaint, claimant denies the
14 allegations contained herein.

15        32.   Answering paragraph 32 of the Complaint, claimant denies the
16 allegations contained herein.

17        33.   Answering paragraph 33 of the Complaint, claimant denies the
18 allegations contained herein.

19                  FOR A SECOND, SEPARATE AND FURTHER
20                ANSWER AND FIRST AFFIRMATIVE DEFENSE,
21                  THIS ANSWERING COMPLAINT ALLEGES:
22        34.   The Complaint fails to state a claim against the defendant property upon
23 which relief can be granted.

24                   FOR A THIRD, SEPARATE AND FURTHER
25              ANSWER AND SECOND AFFIRMATIVE DEFENSE,
26                   THIS ANSWERING CLAIMANT ALLEGES:
27        35.   The seizure statute violates due process of law under the Fifth
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 1 Amendment to the United States Constitution because it is unconstitutionally vague

 2 and authorizes the arrest of property without prior authorization by a disinterested

 3 judicial officer, prior notice, or an opportunity to be heard on the probable validity of

 4 the claim and authorizes the taking of personal property without just compensation in

 5 violation of the Eminent Domain Clause of the Fifth Amendment to the United

 6 States Constitution.

 7                  FOUR A FOURTH, SEPARATE AND FURTHER
 8                ANSWER AND THIRD AFFIRMATIVE DEFENSE,
 9                    THIS ANSWERING CLAIMANT ALLEGES:
10        36.    The seizure of the defendant property was based on an unlawful search
11 and seizure by state and/or federal authorities in violation of the Fourth Amendment

12 to the United States Constitution.

13                    FOR A FIFTH, SEPARATE AND FURTHER
14                 ANSWER AND FOUR AFFIRMATIVE DEFENSE,
15                    THIS ANSWERING CLAIMANT ALLEGES:
16        37.    The forfeiture statute is void and unenforceable under the United
17 States Constitution, Article III, Section 3, cl.2

18                    FOR A SIXTH, SEPARATE AND FURTHER
19                 ANSWER AND FIFTH AFFIRMATIVE DEFENSE,
20                    THIS ANSWERING CLAIMANT ALLEGES:
21        38.    Defendant is not subject to forfeiture because any alleged acts or uses
22 involving said property in violation of law were committed without the knowledge of

23 consent of claimant, and claimant is an innocent owner of the defendant.

24                  FOR A SEVENTH, SEPARATE AND FURTHER
25                ANSWER AND SIXTH AFFIRMATIVE DEFENSE,
26                    THIS ANSWERING CLAIMANT ALLEGES:
27        39.    The seizure and forfeiture of the claimant’s interest in the defendant
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                                                5
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 1 property is void and unenforceable under the Eighth Amendment to the United States

 2 Constitution as an excessive fine or punishment.

 3                  FOR AN EIGHTH, SEPARATE AND FURTHER
 4              ANSWER AND SEVENTH AFFIRMATIVE DEFENSE,
 5                    THIS ANSWERING CLAIMANT ALLEGES:
 6        40.    The forfeiture statutes are void and unenforceable under the Due
 7 Process Clause of the Fifth Amendment to the United States Constitution because

 8 they impermissibly permit a burden of proof of mere probable cause for the plaintiff

 9 and shift the burden of proof at the forfeiture trial to the claimant.

10                     FOR A NINTH, SEPARATE AN FURTHER
11               ANSWER AND EIGHTH AFFIRMATIVE DEFENSE,
12                    THIS ANSWERING CLAIMANT ALLEGES:
13        41.    The government failed to commence the instant civil forfeiture action
14 within five years after the time the alleged offense was discovered. Claimant alleges

15 that the limitations period began to run when the government either discovered or

16 possessed the means to discovery the alleged wrong. This includes not only those

17 facts the plaintiff actually knew, but also those facts a reasonably diligent plaintiff

18 would have know.

19        WHEREFORE, this answering party claimant respectfully prays:
20        1.     That plaintiff United States of America take nothing by its Complaint;
21        2.     That the defendant property be returned to claimant forthwith;
22        3.     That the Court award claimant his reasonable costs and attorney’s fees
23 incurred herein under the Equal Access to Justice Act;

24        4.     That the Court rule on all of the constitutional questions raised by this
25 pleading and issue its findings of fact and conclusions of law; and

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 1       5.    For such other and further relief as the Court may deem just and
 2 proper.

 3 Dated: June 16, 2022                         Respectfully submitted,
 4

 5                                              /s/ Victor Sherman_________
                                                VICTOR SHERMAN
 6                                              Attorney for Defendant
                                                STANLEY HUDSON
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     Attorney for Defendant
 6 STANLEY HUDSON

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                         UNITED STATES DISTRICT COURT
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                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,       )             Case No. 2:22-CV-00556-CAS
12                                   )
                       Plaintiff,    )
13                                   )             DEMAND FOR JURY TRIAL
              v.                     )
14                                   )
   CRYPTOCURRENCY,                   )
15                                   )
                      Defendant.     )
16 _________________________________ )
                                     )
17 STANLEY HUDSON,                   )
                                     )
18                     Claimant.     )
                                     )
19                                   )
20
          TO THE CLERK OF THE ABOVE-ENTITLED COURT AND TO
21
     PLAINTIFF, UNITED STATES OF AMERICA, AND ITS ATTORNEY:
22
          PLEASE TAKE NOTICE that pursuant to Rule 38(b), Federal Rules of Civil
23
   Procedure, claimant, Stanley Hudson, demands a jury trial in this action.
24 Dated: June 16, 2022                      Respectfully submitted,
25
                                                 /s/ Victor Sherman_________
26                                               VICTOR SHERMAN
                                                 Attorney for Defendant
27                                               STANLEY HUDSON
28
                                             8
